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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                     Plaintiff

v.                                  Case No.: 3:21−cr−00016−JM

John Joubert                                                               Defendant




                                NOTICE OF HEARING


      PLEASE take notice that a Arraignment has been set in this case for August 29,
2022, at 02:00 PM before Magistrate Judge J. Thomas Ray in Little Rock Courtroom # 1C
in the Richard Sheppard Arnold United States Courthouse located at 600 West Capitol
Avenue, Little Rock, Arkansas.



DATE: August 15, 2022                            AT THE DIRECTION OF THE COURT
                                                        TAMMY H. DOWNS, CLERK


                                                      By: Suzy Flippen, Deputy Clerk




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